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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


      Mahmoud KHALIL,

                        Petitioner,
            v.

      Donald J. TRUMP, in his official capacity as
      President of the United States; William P.
      JOYCE, in his official capacity as Acting
      Field Office Director of New York,
      Immigration and Customs Enforcement;1
      Caleb VITELLO, Acting Director, U.S.             No. 25-cv-1963
      Immigration and Customs Enforcement;
      Kristi NOEM, in her official capacity as
      Secretary of the United States Department of
      Homeland Security; Marco RUBIO, in his
      official capacity as Secretary of State; and
      Pamela BONDI, in her official capacity as
      Attorney General, U.S. Department of
      Justice,

                        Respondents.


        PETITIONER’S SUPPLEMENTAL MEMORANDUM OF LAW IN
      FURTHER SUPPORT OF HIS MOTION TO COMPEL RESPONDENTS
                 TO RETURN HIM TO THIS DISTRICT




  1
   Respondent Yolanda Pittman, in her official capacity as Warden of Elizabeth
  Contact Detention Facility, will be added.
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                           PRELIMINARY STATEMENT

        This Court has broad equitable authority to “issue all writs necessary or

  appropriate” in aid of jurisdiction under the All Writs Act, 28 U.S.C. § 1651.

  Ordering Respondents to return Petitioner Mahmoud Khalil to this District, where

  he was detained in ICE custody when his habeas corpus petition was filed, remains

  appropriate. Relief would both begin to remedy and reverse Respondents’

  extraordinary and improper actions here, where they spirited Mr. Khalil a thousand

  miles away to Louisiana, and it would also facilitate this Court’s exercise of its

  jurisdiction over the instant petition, including by promoting greater access by Mr.

  Khalil to the Court, to his legal counsel, and to his expectant wife, all located within

  or near this District. As demonstrated in Mr. Khalil’s two previous filings on this

  motion, the Court may, pursuant to the All Writs Act and the Court’s inherent

  equitable power, order Mr. Khalil’s return to this District, even if still in ICE

  custody. See Mem. (ECF 11); Reply Mem. (ECF 73). The relief he seeks has grown

  only more urgent in the time that has passed since he filed the instant motion, and

  the sound reasons for the Court to exercise its power in these exceptional

  circumstances have become only more clear.

        Now that the above-captioned case has been transferred to this District from

  the Southern District of New York, Mr. Khalil submits this supplemental brief for

  the limited purpose of providing the Court with additional relevant authorities from



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  the Third Circuit, in keeping with the Court’s Order (ECF 85). As made clear below,

  those new authorities only strengthen Mr. Khalil’s arguments. First, ordering Mr.

  Khalil’s return to this District remains appropriate. And second, Third Circuit law

  undermines even further Respondents’ arguments that the relief sought through Mr.

  Khalil’s motion is jurisdictionally barred. Indeed, the relief requested in this Motion

  turns on the same authority this Court already invoked (ECF 81), in enjoining

  Respondents from deporting Mr. Khalil. Just as there was no jurisdictional bar to

  that limited and uncontested equitable relief, there is no jurisdictional bar to the

  invocation of the Court’s same power, and under related authority, to return Mr.

  Khalil to this District.2

         I.     The All Writs Act Authorizes this Court to return Mr. Khalil to
                the District, Which is Justified Under the Circumstances.

         Petitioner explained why the Southern District of New York could and should

  rely on the All Writs Act to return him to New York. See Mem. 7–11; Reply 2–5.

  For the same reasons, this Court can and should return Mr. Khalil to ICE custody in

  New Jersey.




  2
   As Petitioner has explained before, Reply Mem. 1, should the Court grant the
  relief sought in his separate Motion for Release, see ECF 52; ECF 93, and if the
  Court includes as part of that relief an order that Respondents return him from
  Louisiana to this District at government expense, Petitioner recognizes that the
  relief sought in this Motion may no longer be necessary.

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       Respondents’ arguments about the reach of the statute are wrong. See Reply

 Mem. 2. “It is well established that All Writs Act is to be employed only where there

 exists extraordinary or exceptional circumstances.” United States v. Bd. of Educ. of

 City of Union City, No. CIV. A. 83-2651, 1988 WL 188297, at *2 (D.N.J. Aug. 15,

 1988) (quotation marks omitted) (citation omitted). Moreover, as another court in

 this District has explained, “the powers conferred by the All Writs Act powers are

 utilized in extraordinary circumstances where equitable measures are required to

 facilitate adjudication . . . or peripheral aspects of habeas adjudication.” Byrd v.

 Hollingsworth, No. CIV. A. 14-6473 (RMB), 2014 WL 6634932, at *2 (D.N.J. Nov.

 21, 2014), aff'd sub nom. Byrd v. Warden Fort Dix FCI, 611 F. App’x 62 (3d Cir.

 2015), citing Boumediene v. Bush, 553 U.S. 723, 774 (2008) (in turn citing Harris

 v. Nelson, 394 U.S. 286, 299–300 (1969)). Accord Dabone v. Karn, 763 F.2d 593,

 597 n.2 (3d Cir. 1985), citing F.T.C. v. Dean Foods Co., 384 U.S. 597, 603 (1966);

 see also Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1102 (11th Cir. 2004) (a

 court may enjoin almost any conduct “which, left unchecked. . . would have . . . the

 practical effect of diminishing the court’s power to bring the litigation to a natural

 conclusion” (citation omitted)). The Court also possesses “inherent power,” of a

 “constitutional dimension,” that permits the court to maintain a party’s access to the

 court and preserve the court’s ability to adjudicate the case fully and fairly.” Ragbir

 v. United States, No. 2:17-CV-1256-KM, 2018 WL 1446407, at *1 (D.N.J. Mar. 23,



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 2018); see Bounds v. Smith, 430 U.S. 817, 824 (1977) (holding that the Constitution

 guarantees litigants “meaningful access to the courts”); Johnson v. Avery, 393 U.S.

 483, 485 (1969) (particularly true in habeas cases) (“Since the basic purpose of the

 writ is to enable those unlawfully incarcerated to obtain their freedom, it is

 fundamental that access of prisoners to the courts for the purpose of presenting their

 complaints may not be denied or obstructed.”). Though the government argues

 otherwise, “[o]rdinarily this would not be controversial; if the item in controversy

 were not a human being but a valuable painting, few would quarrel with an order

 that the artwork be kept within the jurisdiction while the case is pending.” Ragbir,

 2018 WL 1446407, at *1.

       It is clear that this case is nothing but extraordinary. Mr. Khalil has now been

 detained for ten days for his constitutionally protected speech. See Am. Pet. ¶¶ 73–

 81 (ECF 38). At the moment his lawyers filed the initial petition—which from the

 start challenged his detention as unconstitutional, Pet. ¶ 28 (ECF 2), he was detained

 in this District. Op. & Order 28 (ECF 78) (“By its plain terms, therefore, the [federal

 transfer] statute calls for transfer of Khalil’s Petition to the District of New Jersey,

 the only district in which—due to the immediate-custodian and district-of-

 confinement rules—his ‘core’ claims ‘could have been’ brought” at 4:40 a.m. on

 March 9, 2025.” (quoting 28 U.S.C. § 1406(a)). Since approximately seven hours

 after that filing, Respondents spirited Mr. Khalil more than a thousand miles away



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 from his counsel, his family, and the two courts that have adjudicated his petition.

 The transferor court’s assistance in securing remote privileged access to counsel for

 Mr. Khalil had been critical in setting up his various pending motions for urgent

 relief. See Order (ECF 29). But these measures still remain no substitute for the kind

 of regular and natural combination of in-person and virtual access that would be

 available locally, even if Mr. Khalil were to be returned to ICE detention in or near

 this District. See Reply at 4.

       Utilizing the Court’s authority to bring Petitioner closer to this Court, his

 counsel, and family is plainly justified. Indeed, despite the weighty stakes in this

 case, none of Mr. Khalil’s counsel has been in the same room with him since his

 detention. And each passing day brings the additional risk that Mr. Khalil’s first

 child will be born with him behind bars, an action by Respondents that he has, since

 just after 4 o’clock in the morning on March 8, challenged as unconstitutional. The

 All Writs Act confers broad equitable authority to correct and remediate exceptional

 conduct by a litigant and to preserve the integrity of this Court’s jurisdiction that the

 litigant otherwise seeks to compromise.

       II.    The Court Has jurisdiction to Order Respondents to Return Mr.
              Khalil to this District.

       In enjoining Respondents from deporting Mr. Khalil, see Order (ECF 81), the

 Court implicitly recognized that the relief requested by this Motion—issuing all

 writs necessary or appropriate in aid of its jurisdiction—does not implicate 8 U.S.C.


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 § 1252(a)(2)(B)(ii) and (g). See Mem. 9–10; Reply Mem. 5. The same holds true for

 purposes of this Motion. And Mr. Khalil’s arguments are only reinforced and further

 bolstered by Third Circuit law, which makes clear that Respondents’ attempts to

 defeat or interfere with jurisdiction, including by transferring Mr. Khalil more than

 a thousand miles away from his family, attorneys, and community are neither

 discretionary nor discrete actions tied to the commencement of proceedings. Thus,

 neither § 1252(a)(2)(B)(ii) nor (g) bars review here.

           A. Section 1252(a)(2)(B)(ii) Does Not Bar Review or Relief.

       The Third Circuit has repeatedly emphasized that § 1252(a)(2)(B)(ii) “applies

 not to all decisions the [Secretary] is entitled to make, but to a narrower category of

 decisions [or actions] where Congress has taken the additional step to specify that

 the sole authority for the action is in the [Secretary]’s discretion.” Bakran v. Sec’y,

 U.S. Dep’t of Homeland Sec., 894 F.3d 557, 562 (3d Cir. 2018) (alterations in

 original) (quoting Alaka v. Att’y Gen., 456 F.3d 88, 95 (3d Cir. 2006)); see also

 Soltane v. U.S. Dep’t of Just., 381 F.3d 143, 146 (3d Cir. 2004) (“The key to §

 1252(a)(2)(B)(ii) lies in its requirement that the discretion giving rise to the

 jurisdictional bar must be ‘specified’ by statute.”); Luziga v. Att’y Gen. U.S., 937

 F.3d 244, 251 n.7 (3d Cir. 2019) (“Section 1252(a)(2)(B)(ii) only prohibits our

 review of matters specifically delegated to the Attorney General’s discretion.”)

 (citing Kucana v. Holder, 558 U.S. 233, 251 (2010)).



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       Also, “challenge[s] [to] the extent of the [Secretary’s] authority under [a] . . .

 statute” are not barred by § 1252(a)(2)(B)(ii) because “the extent of that authority is

 not a matter of discretion.” E.O.H.C. v. Sec’y U.S. Dep’t of Homeland Sec., 950 F.3d

 177, 191 (3d Cir. 2020). In E.O.H.C., the Third Circuit found that it had jurisdiction

 to review petitioners’ claims that the Migrant Protection Protocols, requiring them

 to return to Mexico to await the adjudication of their asylum case, violated the

 Convention Against Torture’s prohibition on nonrefoulement. Id. at 182. The court

 of appeals explained that petitioners were not challenging the Secretary’s “exercise

 of discretion,” but whether she was exercising lawful statutory authority in the first

 place. Id. at 191. Because “no executive official has discretion to commit ultra vires

 acts,” review was warranted. Id. So too here, Mr. Khalil challenges Respondents’

 attempts to undermine or interfere with the Court’s jurisdiction, including by

 impeding or complicating access to counsel or engaging in retaliatory detention.

 “[T]he extent of [Respondents’] authority” to engage in such actions raises profound

 constitutional questions, and “is not a matter of discretion.” Zadvydas v. Davis, 533

 U.S. 678, 688 (2001).

       Finally, even if Mr. Khalil were challenging a typical detainee transfer

 decision, which he is not, § 1252(a)(2)(B)(ii) still would not preclude review.

 Respondents point to 8 U.S.C. § 1231(g), but that statute does not even mention

 “transfer.” See Soltane v. U.S. Dep’t of Just., 381 F.3d at 146 (3d Cir. 2004) (noting



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 that “[t]he key to § 1252(a)(2)(B)(ii) lies in its requirement that the discretion giving

 rise to the jurisdictional bar must be ‘specified’ by statute”); cf. Kucana, 558 U.S. at

 247 (§ 1252(a)(2)(B)(ii) applies only to those decisions where Congress has “set out

 the Attorney General’s discretionary authority in the statute”). “[T]here is

 considerable uncertainty as to whether section 1231(g)(1) encompasses the authority

 to transfer detainees,” Aguilar v. U.S. Immigr. & Customs Enf’t, 510 F.3d 1, 20 (1st

 Cir. 2007), and neither the Third Circuit nor any court in this District has held that

 the provision prohibits challenges to transfers. Cf. Calla-Collado v. Att’y Gen. of

 U.S., 663 F.3d 680 (3d Cir. 2011) (not discussing § 1252(a)(2)(B)(ii)); Sinclair v.

 Att’y Gen. of U.S., 198 F. App’x 218, 223 (3d Cir. 2006) (same); Edison C. F. v.

 Decker, CIV. A. 20-15455 (SRC), 2021 WL 1997386, at *6 (D.N.J. May 19, 2021)

 (“This Court need not reach the ultimate question of jurisdiction here[.]”). And, in

 any event, “[a]ny lingering doubt about the proper interpretation of 8 U.S.C. §

 1252(a)(2)(B)(ii) would be dispelled by ... the presumption favoring judicial review

 of administrative action.” E.O.H.C., 950 F.3d at 191 (alteration in original) (citing

 Kucana, 558 U.S. at 251).

           B. Section 1252(g) Does Not Bar Review or Relief.

       The Third Circuit has consistently emphasized that § 1252(g) should be read

 narrowly, in accordance with Supreme Court precedent, to “address only three

 discrete actions by the Attorney General: the ‘decision or action to commence



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 proceedings, adjudicate cases, or execute removal orders.’”). See e.g., Chehazeh v.

 Att’y Gen. of U.S., 666 F.3d 118, 134 (3d Cir. 2012) (citing Reno v. Am.-Arab Anti-

 Discrimination. Comm. (AADC), 525 U.S. 471, 482 (1999)). Naturally, courts within

 this District have adhered to that interpretation. In Ragbir, petitioner was ordered

 removed from the United States based on a felony conviction, and he sought a writ

 of coram nobis. 2018 WL 1446407, at *4. The court found that § 1252(g) did not

 bar its review of petitioner’s claim, stressing the narrow scope of the provision, and

 explaining that “Section 1252(g) was not intended to be turned loose upon the federal

 court system like a sorcerer’s apprentice. It was intended to operate within the

 scheme of federal court review of immigration orders.” Id. at 1; see also id. at 7 (“It

 is apparent that § 1252(g) is aimed at precluding judicial review of claims ‘arising

 from’—ordinarily, challenging— three discretionary decisions of the Attorney

 General along the road to removal. Outside of that specific area, a district court

 retains jurisdiction, even if the claims before it happen to touch upon removal

 proceedings.”).

       Transfers are not among the actions to which § 1252(g) applies. And certainly,

 Respondents’ extraordinary efforts to undermine or interfere with jurisdiction by

 covertly transferring Mr. Khalil over a thousand miles away from this District, all

 while impeding access to his counsel and raising grave constitutional issues, do not

 fall under any of the three discrete actions contemplated by § 1252(g), nor are they



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 discretionary. Contrary to Respondents’ exceptionally broad interpretation of §

 1252(g), the determination of “where” a proceeding is located is wholly distinct from

 Respondents’ decisions of “when” and “whether” to commence proceedings.

 Respondents simply do not enjoy prosecutorial discretion to choose a forum most

 favorable for them. The decision of “where” a proceeding is held lies at the heart of

 jurisdiction and requires the consideration of key objective external factors that are

 well beyond the three discrete actions specified in § 1252(g). Chehazeh, 666 F.3d at

 134.

        Respondents’ attempt to interfere with the court’s exercise of its jurisdiction

 is not a discretionary action that falls under the scope of § 1252(g). The Third Circuit

 has stressed that § 1252(g) does not bar review of challenges to the underlying

 authority of government actions to commence proceedings. Garcia v. Att’y Gen.,

 553 F.3d 724, 729 (3d Cir. 2009) (holding that § 1252(g) is no bar where petition is

 not “challenging the discretionary decision to commence proceedings, but is

 challenging the government's very authority to commence those proceedings” after

 limitation period expired) (emphasis in original). This is especially true here where

 Respondents attempt to tamper with the integrity of the Court’s exercise of its

 jurisdiction and with foundational principles of law. See Chehazeh, 666 F.3d at 134

 (declining to interpret § 1252(g) as bar where it would be used as “do-over”

 provision, allowing BIA to repeatedly remand until they receive a favorable outcome



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 from a new Immigration Judge). Here, there is no basis under § 1252(g) to bar review

 or relief.

                                    CONCLUSION

        Petitioner Mahmoud Khalil respectfully requests that the Court issue an order

 under the All Writs Act and/or the Court’s inherent equitable authority to return him

 to ICE custody within the District (without prejudice to his ability to continue to

 seek release before this Court or otherwise), and to reinstate the status quo at the

 commencement of this litigation.



 Dated: March 21, 2025                      /s/Baher Azmy

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